Case 2:23-cv-20964-SRC-MAH             Document 111-1   Filed 07/10/24    Page 1 of 49 PageID:
                                              2570



   Liza M. Walsh                                    Rebekah Conroy
   Selina M. Ellis                                  STONE CONROY LLC
   Hector D. Ruiz                                   25 A Hanover Road, Suite 301
   Christine P. Clark                               Florham Park, NJ 07932
   WALSH PIZZI O’REILLY FALANGA LLP                 Tel: (973) 400-4181
   Three Gateway Center                             Fax: (973) 498-0070
   100 Mulberry Street, 15th Floor                  rconroy@stoneconroy.com
   Newark, New Jersey 07102
   Tel: (973) 757-1100                              Attorneys for Defendants Amneal
                                                    Pharmaceuticals of New York, LLC,
   Attorneys for Plaintiffs Teva Branded            Amneal Ireland Limited, Amneal
   Pharmaceutical Products R&D, Inc., Norton        Pharmaceuticals LLC, and Amneal
   (Waterford) Ltd., and Teva Pharmaceuticals       Pharmaceuticals, Inc.
   USA, Inc.



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   TEVA BRANDED PHARMACEUTICAL
   PRODUCTS R&D, INC., NORTON
   (WATERFORD) LTD., and TEVA
   PHARMACEUTICALS USA, INC.,

                         Plaintiffs,
                                                    Civil Action No. 23-cv-20964-SRC-MAH
         v.
                                                              Electronically Filed
   AMNEAL PHARMACEUTICALS OF NEW
   YORK, LLC, AMNEAL IRELAND LIMITED,
   AMNEAL PHARMACEUTICALS LLC, and
   AMNEAL PHARMACEUTICALS INC.,

                         Defendants.


           JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

         Pursuant to Local Patent Rule 4.3 and the Court’s Scheduling Orders (D.E. 56, 68),

  Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc., Norton (Waterford) Ltd., and Teva

  Pharmaceuticals USA, Inc. (collectively, “Teva” or “Plaintiffs”) and Defendants Amneal

  Pharmaceuticals of New York, LLC, Amneal Ireland Limited, Amneal Pharmaceuticals LLC, and

                                                1
Case 2:23-cv-20964-SRC-MAH            Document 111-1        Filed 07/10/24      Page 2 of 49 PageID:
                                             2571



  Amneal Pharmaceuticals, Inc. (collectively, “Amneal” or “Defendants”) hereby submit their Joint

  Claim Construction and Prehearing Statement (“JCCS”).

  I.     BACKGROUND

         This Hatch-Waxman case arises out of Amneal’s submission of Abbreviated New Drug

  Application (“ANDA”) No. 211600 to the U.S. Food and Drug Administration seeking approval

  to market a generic version of ProAir® HFA (albuterol sulfate) Inhalation Aerosol (“Amneal

  ANDA Product”) prior to the expiration of U.S. Patent Nos. 8,132,712 (“the ’712 patent”),

  9,463,289 (“the ’289 patent”), 9,808,587 (“the ’587 patent”), 10,561,808 (“the ’808 patent”), and

  11,395,889 (“the ’889 patent”) (collectively, “the Patents-in-Suit”).       Teva is asserting the

  following claims against Amneal: claims 1, 2, and 4–8 of the ’289 patent; claims 1, 2, 4–8, 11,

  and 12 of the ’587 patent; claims 1 and 27–29 of the ’808 patent; and claims 1–4 and 6 of the ’889

  patent (collectively, “the Asserted Patents”). 1 Amneal alleges that the asserted claims are invalid

  and/or not infringed.

         On June 10, 2024, the Court granted Amneal’s Rule 12(c) motion for judgment on the

  pleadings and entered an injunction ordering Teva to delist the five Patents-in-Suit from the

  Orange Book (D.E. 88). Teva has appealed to the United States Court of Appeals for the Federal

  Circuit from this Court’s Order and Opinion granting this injunction (D.E. 92).

         Pursuant to Local Patent Rule 4.1, on June 5, 2024, the parties exchanged proposed terms

  for construction for the Asserted Patents. Pursuant to Local Patent Rules 4.2(a)-(b), on June 21,

  2024, the parties exchanged preliminary claim constructions and identified intrinsic as well as

  extrinsic evidence in support of their preliminary claim constructions for the Asserted Patents. In

  accordance with Local Patent Rule 4.2(c), the parties exchanged identifications of intrinsic and


  1
   On February 28, 2024, Teva provided Amneal its Disclosure of Asserted Claims Pursuant to L.
  Pat. R. 3.6(b) and identified no claims from the ’712 patent.
                                                   2
Case 2:23-cv-20964-SRC-MAH            Document 111-1            Filed 07/10/24     Page 3 of 49 PageID:
                                             2572



  extrinsic evidence that each party intends to rely upon to oppose any other party’s proposed

  construction on June 28, 2024. Throughout these exchanges, and continuing throughout the filing

  of this JCCS, the parties have met and conferred in good faith to narrow the issues and narrow the

  number of disputed claim terms. As reflected below, the parties have reached agreement with

  respect to the construction of 15 claim terms and dispute 7 additional claim terms. 2

  II.    CONSTRUCTION OF PATENT TERMS

         A.      Agreed-Upon Constructions

         Pursuant to Local Patent Rule 4.3(a), the parties agree to the construction of the terms set

  forth below for purposes of this action. Teva does not suggest or otherwise concede that these

  constructions would be appropriate outside the context of this litigation.

  No. Claim Term                   Patent(s) / Claim(s)           Agreed-Upon Construction

  1     “canister housing”         ’289 patent, claim 1           “the portion of the inhaler body that
                                                                  is arranged to retain a medicament
                                   ’587 patent, claims 1, 12      canister”

  2     “inside surface”           ’289 patent, claims 4, 6-8     “an interior surface”

                                   ’587 patent, claims 4, 6-8

  3     “canister support          ’289 patent, claims 1, 4       “a formation arranged to reduce
        formation”                                                canister rocking”
                                   ’587 patent, claims 1, 4,
                                   11, 12

  4     “main surface of the       ’289 patent, claim 1           “inside surface of the vertical
        inner wall”                                               cylindrical portion of the inhaler
                                   ’587 patent, claims 1, 12      body, where vertical means

  2
    On June 5, 2024, Amneal originally proposed the terms “resistance force” (’808 patent, claims
  27-29) and “bump surface” (’889 patent, claim 1) for construction. On June 20, 2024, the parties
  reached agreement that: (1) Amneal withdraws the terms “resistance force” (’808 patent, claims
  27-29) and “bump surface” (’889 patent, claim 1); (2) the parties will not exchange constructions
  or evidence for those terms as part of these claim construction proceedings; (3) the parties will not
  brief indefiniteness under 35 U.S.C. § 112 at the claim construction stage; and (4) the parties agree
  that Amneal has preserved its indefiniteness arguments raised in its contentions for the withdrawn
  terms for expert discovery.
                                                   3
Case 2:23-cv-20964-SRC-MAH      Document 111-1            Filed 07/10/24     Page 4 of 49 PageID:
                                       2573



  No. Claim Term             Patent(s) / Claim(s)           Agreed-Upon Construction

                                                            substantially parallel to the primary
                                                            direction of the movement of the
                                                            medicament canister when it is
                                                            pressed downward by the user to
                                                            expel medicament”

  5   “inner wall”           ’289 patent, claims 1, 4       “an internal wall of the inhaler body,
                                                            which includes a main surface of the
                             ’587 patent, claims 1, 4,      inner wall and the inner wall through
                             11, 12                         which a portion of the actuation
                                                            member extends, but excludes the
                                                            bottom surface, or floor, of the
                                                            inhaler body”

  6   “actuation member”     ’289 patent, claim 1           “a component of the dose counter’s
                                                            actuator that transmits motion from
                             ’587 patent, claims 1, 11,     the canister to the actuator”
                             12

  7   “[lying or lie] in a   ’289 patent, claim 1           for ’289 patent, claim 1; ’587 patent,
      common plane                                          claims 1, 12
      coincident with the    ’587 patent, claims 1, 12
      longitudinal axis X”   / claim 11                     “aligned in a single plane such that a
                                                            straight line can be drawn through
                                                            the center of the central outlet port,
                                                            the canister support formation, and
                                                            the actuation member”

                                                            /

                                                            for ’587 patent, claim 11

                                                            “aligned in a single plane such that a
                                                            straight line can be drawn through
                                                            the center of the central outlet port,
                                                            the first inner wall canister support
                                                            formation, the second inner wall
                                                            canister support formation, and the
                                                            actuation member”

  8   “step[(s)] formed      ’289 patent, claims 5, 8       “a location of changing width
      thereon”                                              dimension thereon”
                             ’587 patent, claims 5, 8



                                             4
Case 2:23-cv-20964-SRC-MAH          Document 111-1           Filed 07/10/24       Page 5 of 49 PageID:
                                           2574



  No. Claim Term                 Patent(s) / Claim(s)          Agreed-Upon Construction

  9    “protects against         ’587 patent, claim 1          “guards against unwanted actuation
       unwanted actuation of                                   by reducing rocking of the
       the dose counter by                                     medicament canister relative to the
       reducing rocking of the                                 main body of the inhaler that would
       medicament canister                                     otherwise be of a magnitude
       relative to the main                                    sufficient to move the dose
       body of the inhaler”                                    counter’s actuator enough to cause
                                                               unwanted incrementing (or
                                                               decrementing) of the dose counter”

  10   “protects against dose    ’587 patent, claim 12         “guards against dose count errors,
       count errors by                                         including the dose counter counting
       reducing rocking of the                                 a dose when the medicament canister
       medicament canister                                     did not fire and the dose counter not
       towards or away from                                    counting a dose when the
       the actuation member”                                   medicament canister did fire, by
                                                               reducing rocking of the medicament
                                                               canister towards or away from the
                                                               actuation member”

  11   “regulator”               ’808 patent, claims 1, 27     “a structure of the dose counter that
                                                               modulates motion of the counter
                                 ’889 patent, claim 6          display”

  12   “regulate motion of the   ’808 patent, claim 1          “modulate motion of the counter
       counter display”                                        display”
                                 ’889 patent, claim 6

  13   “first direction”         ’808 patent, claim 1          “single direction at a time”

                                 ’889 patent, claim 6

  14   “first station”           ’808 patent, claim 1          “a first region”

                                 ’889 patent, claim 6

  15   “second station”          ’808 patent, claim 1          “a second region”

                                 ’889 patent, claim 6




                                                 5
Case 2:23-cv-20964-SRC-MAH             Document 111-1          Filed 07/10/24     Page 6 of 49 PageID:
                                              2575



         B.      Disputed Constructions

         Pursuant to Local Patent Rule 4.3(b), attached hereto as Exhibit A is a claim chart

  identifying the claim terms in dispute, the parties’ proposed constructions, and the evidence (both

  intrinsic and extrinsic) that each party intends to rely on in support of its proposed construction or

  to oppose the other party’s proposed construction. Included in the below table is a summary of

  the disputed claim terms, their corresponding asserted claim numbers, and the parties’ proposed

  constructions. The parties will supplement this JCCS if they are able to reach agreement on any

  additional terms.

  No. Claim Term                   Plaintiffs’ Proposed               Defendants’ Proposed
                                   Construction                       Construction
        Patent(s) / Claim(s)

  1     “An inhaler for            The preamble is limiting.          The phrase “An inhaler for
        metered dose                                                  metered dose inhalation” is
        inhalation”                Plain and ordinary meaning in      part of the preamble and is not
                                   view of the claims,                limiting. Therefore, no
        ’289 patent, claim 1       specification, and prosecution     construction is necessary.
                                   history, which is:
        ’587 patent, claims 1,                                        To the extent the Court finds
        12                         “An inhaler for metered dose       that this phrase is limiting and
                                   inhalation containing an active    requires construction, this
                                   drug capable of being              phrase should be construed as
                                   dispensed via the inhaler to the   “An inhaler device for metered
                                   lungs”                             dose inhalation”

  2     “medicament canister”    Plain and ordinary meaning in        No construction necessary.
                                 view of the claims,                  Plain and ordinary meaning,
        ’289 patent, claims 1, 2 specification, and prosecution       i.e., “a canister for
                                 history, which is:                   medicament”
        ’587 patent, claims 1,
        2, 12                    “a canister containing an active
                                 drug capable of being
                                 dispensed via the inhaler to the
                                 lungs”

  3     “A dose counter for an     The preamble is limiting.          The phrase “A dose counter for
        inhaler”                                                      an inhaler” is part of the
                                   Plain and ordinary meaning in      preamble and is not limiting.
                                   view of the claims,

                                                    6
Case 2:23-cv-20964-SRC-MAH       Document 111-1           Filed 07/10/24    Page 7 of 49 PageID:
                                        2576



  No. Claim Term              Plaintiffs’ Proposed               Defendants’ Proposed
                              Construction                       Construction
      Patent(s) / Claim(s)

      ’808 patent, claim 1    specification, and prosecution     Therefore, no construction is
                              history, which is:                 necessary.

                              “A dose counter used in            To the extent the Court finds
                              connection with an inhaler”        that this phrase is limiting and
                                                                 requires construction, this
                                                                 phrase should be construed as
                                                                 “A dose counter for an inhaler
                                                                 device”

  4   “an inhaler”            The preamble is limiting.          The phrase “an inhaler” is part
                                                                 of the preamble and is not
      ’808 patent, claim 1    Plain and ordinary meaning in      limiting. Therefore, no
                              view of the claims,                construction is necessary.
                              specification, and prosecution
                              history, which is:                 To the extent the Court finds
                                                                 that this phrase is limiting and
                              “an inhaler containing an          requires construction, this
                              active drug capable of being       phrase should be construed as
                              dispensed via the inhaler to the   “an inhaler device”
                              lungs”

  5   “An incremental dose    The preamble is limiting.          The phrase “An incremental
      counter for a metered                                      dose counter for a metered
      dose inhaler”           Plain and ordinary meaning in      dose inhaler” is part of the
                              view of the claims,                preamble and is not limiting.
      ’889 patent, claim 1    specification, and prosecution     Therefore, no construction is
                              history, which is:                 necessary.

                              “An incremental dose counter       To the extent the Court finds
                              used in connection with a          that this phrase is limiting and
                              metered dose inhaler”              requires construction, this
                                                                 phrase should be construed as
                                                                 “An incremental dose counter
                                                                 for a metered dose inhaler
                                                                 device”

  6   “a metered dose         The preamble is limiting.          The phrase “a metered dose
      inhaler”                                                   inhaler” is part of the preamble
                              Plain and ordinary meaning in      and is not limiting.
      ’889 patent, claim 1    view of the claims,                Therefore, no construction is
                              specification, and prosecution     necessary.
                              history, which is:
                                              7
Case 2:23-cv-20964-SRC-MAH            Document 111-1        Filed 07/10/24      Page 8 of 49 PageID:
                                             2577



  No. Claim Term                  Plaintiffs’ Proposed               Defendants’ Proposed
                                  Construction                       Construction
        Patent(s) / Claim(s)

                                                                     To the extent the Court finds
                                  “a metered dose inhaler            that this phrase is limiting and
                                  containing an active drug          requires construction, this
                                  capable of being dispensed via     phrase should be construed as
                                  the inhaler to the lungs”          “a metered dose inhaler
                                                                     device”

  7     “canister”                Plain and ordinary meaning in      No construction necessary.
                                  view of the claims,                Plain and ordinary meaning,
        ’889 patent, claim 1      specification, and prosecution     i.e., “canister”
                                  history, which is:

                                  “a canister containing an active
                                  drug capable of being
                                  dispensed via the inhaler to the
                                  lungs”


         C.      Claim Terms Whose Construction Will Be Most Significant to the Resolution
                 of the Case

         Pursuant to Local Patent Rule 4.3(c), the parties do not believe that the construction of any

  of the disputed terms will be case dispositive or substantially conducive to promoting settlement.

         D.      Anticipated Length of Time Necessary for the Claim Construction Hearing

         Pursuant to Local Patent Rule 4.3(d), the parties anticipate and respectfully request four

  hours, split evenly between the sides, for the Claim Construction Hearing. To the extent the Court

  allocates a different amount of time for the hearing, the parties respectfully request that the

  allocated time be split evenly between the sides.

         E.      Identification of Witnesses for the Claim Construction Hearing

         Pursuant to Local Patent Rule 4.3(e), the parties do not intend to call any witnesses at the

  Claim Construction Hearing.




                                                      8
Case 2:23-cv-20964-SRC-MAH         Document 111-1        Filed 07/10/24    Page 9 of 49 PageID:
                                          2578



   Dated: July 10, 2024

   /s/ Liza M. Walsh                                /s/ Rebekah Conroy
   Liza M. Walsh (lwalsh@walsh.law)                 Rebekah Conroy
   Selina M. Ellis (sellis@walsh.law)               STONE CONROY LLC
   Hector D. Ruiz (hruiz@walsh.law)                 25 A Hanover Road, Suite 301
   Christine P. Clark (cclark@walsh.law)            Florham Park, NJ 07932
   WALSH PIZZI O’REILLY FALANGA LLP                 Tel: (973) 400-4181
   Three Gateway Center                             Fax: (973) 498-0070
   100 Mulberry Street, 15th Floor                  rconroy@stoneconroy.com
   Newark, New Jersey 07102
   Tel: (973) 757-1100                              OF COUNSEL:

   OF COUNSEL:                                      Steven Maddox (pro hac vice)
                                                    Jeremy J. Edwards (pro hac vice)
   Daryl L. Wiesen                                  PROCOPIO
   (DWiesen@goodwinlaw.com)                         1901 L Street NW, Suite 620
   Christopher T. Holding                           Washington, DC 20036
   (CHolding@goodwinlaw.com)                        steven.maddox@procopio.com
   Louis L. Lobel                                   jeremy.edwards@procopio.com
   (LLobel@goodwinlaw.com)
   Thomas V. McTigue IV                             Attorneys for Defendants Amneal
   (TMcTigue@goodwinlaw.com)                        Pharmaceuticals of New York, LLC, Amneal
   GOODWIN PROCTER LLP                              Ireland Limited, Amneal Pharmaceuticals
   100 Northern Avenue                              LLC, and Amneal Pharmaceuticals, Inc.
   Boston, MA 02210
   (617) 570-1000

   Natasha E. Daughtrey
   (NDaughtrey@goodwinlaw.com)
   GOODWIN PROCTER LLP
   601 South Figueroa Street
   Los Angeles, CA 90017
   (213) 426-2642

   Kathryn S. Kayali
   (kkayali@wc.com)
   WILLIAMS & CONNOLLY LLP
   680 Maine Avenue, S.W.
   Washington, DC 20024
   (202) 434-5000

   Attorneys for Plaintiffs Teva Branded
   Pharmaceutical Products R&D, Inc., Norton
   (Waterford) Ltd., and Teva Pharmaceuticals
   USA, Inc.

                                                9
                  Case 2:23-cv-20964-SRC-MAH            Document 111-1          Filed 07/10/24     Page 10 of 49
                                                         PageID: 2579



                      EXHIBIT A – DISPUTED CONSTRUCTIONS AND EVIDENCE IDENTIFIED
                                UNDER LOCAL PATENT RULES 4.2(b) AND 4.2(c)

No. Claim Term      Plaintiffs’ Proposed       Defendants’ Proposed         Plaintiffs’ Evidence          Defendants’ Evidence
                    Construction               Construction
    Patent(s) /
    Claim(s)

1   “An inhaler for The preamble is            The phrase “An inhaler    The ’289 patent, including:      Amneal identifies the
    metered dose    limiting.                  for metered dose           Claims 1, 2                    following intrinsic and
    inhalation”                                inhalation” is part of the Abstract                       extrinsic evidence in
                    Plain and ordinary         preamble and is not        1:19-23                        support of its construction
    ’289 patent,    meaning in view of the     limiting. Therefore, no    1:25-2:37, including WO        and in opposition to Teva’s
    claim 1         claims, specification,     construction is              98/028033, EP-A-              construction. Amneal also
                    and prosecution history,   necessary.                   1486227, WO                   may rely on the evidence
    ’587 patent,    which is:                                               2008/119552                   that Teva has identified
    claims 1, 12                               To the extent the Court  4:30-5:13                        with respect to this claim
                    “An inhaler for metered    finds that this phrase is  5:26-58                        term.
                    dose inhalation            limiting and requires      6:20-58
                    containing an active       construction, this phrase                                  Intrinsic Evidence
                                                                          7:26-35
                    drug capable of being      should be construed as                                     The ’289 patent generally,
                    dispensed via the          “An inhaler device for     7:61-8:4                       including at least 1:34-40,
                    inhaler to the lungs”      metered dose               8:27-37                        1:49-54, 1:61-67, 2:20-25,
                                               inhalation”                9:12-21                        2:25-31, 2:31-33, Figs. 1-
                                                                          10:47-58                       26, claims 1-10.
                                                                          12:13-37
                                                                          13:10-22                       The ’587 patent generally,
                                                                          13:40-52                       including at least 1:36-42,
                                                                          14:25-59                       1:51-56, 1:63-2:2, 2:22-27,
                                                                          17:4-11                        2:27-33, 2:33-35, Figs. 1-
                                                                          20:14-58                       26, claims 1-22.
                                                                          20:62-21:8
                                                                          Fig. 7A, 10D, 21, 22           The ’289 and ’587 file
                                                                                                          histories generally,

                                                                 10
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 11 of 49
                                                  PageID: 2580



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence          Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                                               including at least
                                                                 The ’587 patent, including:   Amendment under 37
                                                                  Claims 1, 2, 12, 13         C.F.R. § 1.116 at 1-7 (Mar.
                                                                  Abstract                    7, 2016)
                                                                  1:19-25                     (TEVAPRO_00000574 at
                                                                  1:27-2:40, including WO     01575-81).
                                                                    98/028033, EP-A-
                                                                    1486227, WO                U.S. Patent No. 10,086,156
                                                                    2008/119552                (“the ’156 patent”)
                                                                  4:34-5:18                   generally, including at least
                                                                  5:31-63                     claim 1
                                                                  6:24-62                     (AMN_PA0058084).
                                                                  7:30-39
                                                                  7:65-8:8                    Extrinsic Evidence
                                                                  8:31-40                     Webster’s Third New
                                                                  9:15-24                     International Dictionary of
                                                                  10:48-58                    the English Language
                                                                  12:15-39                    Unabridged 886 (2002)
                                                                  13:12-24                    (TEVAPRO_00010935).
                                                                  13:42-54
                                                                  14:27-61                    Merriam-Webster’s
                                                                  17:5-11                     Collegiate Dictionary 488
                                                                  20:14-58                    (11th ed. 2007)
                                                                  20:62-21:8                  9TEVAPRO_00010919).
                                                                  Fig. 7A, 10D, 21, 22
                                                                                               The American Heritage
                                                                                               Dictionary of the English

                                                        11
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 12 of 49
                                                  PageID: 2581



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence           Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 Prosecution file history of    Language 684-685 (5th ed.
                                                                 U.S. Application No.           2011)
                                                                 14/103,324, including:         (TEVAPRO_00010912).
                                                                  Original claims (Dec. 11,
                                                                    2013)                       Collins English Dictionary
                                                                  Information Disclosure       758 (12th ed. 2016)
                                                                    Statement (Dec. 11, 2013)   (TEVAPRO_00010916).
                                                                  Information Disclosure
                                                                    Statement (March 10,
                                                                    2014)                       Merriam-Webster’s
                                                                  Information Disclosure       Medical Desk Dictionary
                                                                    Statement (Oct. 15, 2014)   226, 396, 397, 489, 503
                                                                                                (2005)
                                                                  Information Disclosure
                                                                                                (TEVAPRO_00010922).
                                                                    Statement (March 18,
                                                                    2015)
                                                                  Information Disclosure       Merriam-Webster’s
                                                                    Statement (May 19, 2015)    Medical Dictionary 218,
                                                                  Office action (Aug. 10,      379, 460, 474 (2016)
                                                                    2015)                       (TEVAPRO_00010929).
                                                                  Amendment and response
                                                                    (Nov. 4, 2015)              WO 2008/119552 (“the
                                                                  Information Disclosure       ’552 publication”)
                                                                    Statement (April 11,        generally, including at
                                                                    2016)                       13:24-14:6
                                                                                                (AMN_PA0057944).
                                                                 Prosecution file history of
                                                                 U.S. Application No.
                                                                 13/110,532, including:

                                                        12
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 13 of 49
                                                  PageID: 2582



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Original claims (May 18,
                                                                     2011)
                                                                    Office action (June 28,
                                                                     2013)
                                                                    Amendment and response
                                                                     (September 26, 2013)

                                                                 Merriam-Webster’s Medical
                                                                 Desk Dictionary 226, 396,
                                                                 397, 489, 503 (2005)
                                                                 [TEVAPRO_00010922]

                                                                 Merriam-Webster’s Medical
                                                                 Dictionary 218, 379, 460, 474
                                                                 (2016)
                                                                 [TEVAPRO_00010929]

                                                                 Additional Evidence
                                                                 Identified Pursuant to L.
                                                                 Pat. R. 4.2(c)

                                                                 Intrinsic Evidence
                                                                  Evidence cited or relied
                                                                     upon by Teva in its June
                                                                     21, 2024 identification of
                                                                     preliminary claim
                                                                     constructions and
                                                                     supporting evidence

                                                        13
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 14 of 49
                                                  PageID: 2583



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                     pursuant to L. Pat. R.
                                                                     4.2(a)-(b).
                                                                    Evidence cited or relied
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Prosecution file history of
                                                                     U.S. Application No.
                                                                     14/103,324, including:
                                                                      Final rejection
                                                                         (December 7, 2015)
                                                                      Amendment and
                                                                         response (March 7,
                                                                         2016)
                                                                      Notice of
                                                                         allowance/allowability
                                                                         (May 20, 2016)

                                                                 Extrinsic Evidence
                                                                  Evidence cited or relied
                                                                    upon by Teva in its June
                                                                    21, 2024 identification of
                                                                    preliminary claim

                                                        14
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 15 of 49
                                                  PageID: 2584



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                     constructions and
                                                                     supporting evidence
                                                                     pursuant to L. Pat. R.
                                                                     4.2(a)-(b).
                                                                    Evidence cited or relied
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Defendants’
                                                                     Noninfringement
                                                                     Contentions, including
                                                                     materials cited.
                                                                    Defendants’ Invalidity
                                                                     Contentions, including
                                                                     materials cited.
                                                                    Defendants’ Notice
                                                                     Letter.
                                                                    Defendants’ Interrogatory
                                                                     Responses.
                                                                    Expert opinions and/or
                                                                     testimony regarding how
                                                                     a person of ordinary skill
                                                                     in the art would

                                                        15
                      Case 2:23-cv-20964-SRC-MAH           Document 111-1     Filed 07/10/24     Page 16 of 49
                                                            PageID: 2585



No. Claim Term         Plaintiffs’ Proposed        Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                       Construction                Construction
    Patent(s) /
    Claim(s)

                                                                             understand the meaning
                                                                             of this term based on the
                                                                             disclosures in the patent
                                                                             specification, other
                                                                             intrinsic evidence, and the
                                                                             parties’ extrinsic
                                                                             evidence.

2   “medicament        Plain and ordinary          No construction        The ’289 patent, including:      Amneal identifies the
    canister”          meaning in view of the      necessary.              Claims 1, 2                    following intrinsic and
                       claims, specification,      Plain and ordinary      Abstract                       extrinsic evidence in
                       and prosecution history,    meaning, i.e., “a       1:19-23                        support of its construction
    ’289 patent,       which is:                   canister for            1:25-2:37, including WO        and in opposition to Teva’s
    claims 1, 2                                    medicament”               98/028033, EP-A-              construction. Amneal also
                       “a canister containing                                1486227, WO                   may rely on the evidence
    ’587 patent,       an active drug capable                                2008/119552                   that Teva has identified
    claims 1, 2, 12    of being dispensed via                                                              with respect to this claim
                                                                           4:30-5:13
                       the inhaler to the lungs”                           5:26-58                        term.
                                                                           6:20-58
                                                                                                           Intrinsic Evidence
                                                                           7:26-35
                                                                                                           The ’289 patent generally,
                                                                           7:61-8:4                       including at least 1:27-31,
                                                                           8:27-37                        4:46-65, 5:26-34, 6:20-23,
                                                                           9:12-21                        6:34-43, 6:50-58, 9:12-21,
                                                                           10:47-58                       Figs. 1-26, claims 1 and 2.
                                                                           12:13-37
                                                                           13:10-22                       The ’587 patent generally,
                                                                           13:40-52                       including at least 1:29-33,
                                                                           14:25-59                       4:51-5:3, 5:31-39, 6:24-27,
                                                                   16
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 17 of 49
                                                  PageID: 2586



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    17:4-11                     6:38-47, 6:54-62, 9:15:24,
                                                                    20:14-58                    Figs. 1-26, claims 1, 2, 12,
                                                                    20:62-21:8                  13, 14, and 21.
                                                                    Fig. 7A, 10D, 21, 22
                                                                                                 The ’156 patent generally,
                                                                 The ’587 patent, including:     including at least claim 1
                                                                  Claims 1, 2, 12, 13, 14, 21   (AMN_PA0058084).
                                                                  Abstract
                                                                  1:21-25                       Extrinsic Evidence
                                                                  1:27-2:40, including WO
                                                                    98/028033, EP-A-             Merriam-Webster’s
                                                                    1486227, WO                  Medical Desk Dictionary
                                                                    2008/119552                  226, 396, 397, 489, 503
                                                                                                 (2005)
                                                                  4:34-5:18
                                                                                                 (TEVAPRO_00010922).
                                                                  5:31-63
                                                                  6:24-62
                                                                  7:30-39                       Merriam-Webster’s
                                                                  7:65-8:8                      Medical Dictionary 218,
                                                                  8:31-40                       379, 460, 474 (2016)
                                                                  9:15-24                       (TEVAPRO_00010929).
                                                                  10:48-58
                                                                  12:15-39                      The ’552 publication
                                                                  13:12-24                      generally, including at
                                                                  13:42-54                      13:24-14:6
                                                                  14:27-61                      (AMN_PA0057944).
                                                                  17:5-12
                                                                  20:14-58

                                                        17
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 18 of 49
                                                  PageID: 2587



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence           Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    20:62-21:8
                                                                    Fig. 7A, 10D, 21, 22

                                                                 Prosecution file history of
                                                                 U.S. Application No.
                                                                 14/103,324, including:
                                                                  Original claims (Dec. 11,
                                                                    2013)
                                                                  Information Disclosure
                                                                    Statement (Dec. 11, 2013)
                                                                  Information Disclosure
                                                                    Statement (March 10,
                                                                    2014)
                                                                  Information Disclosure
                                                                    Statement (Oct. 15, 2014)
                                                                  Information Disclosure
                                                                    Statement (March 18,
                                                                    2015)
                                                                  Information Disclosure
                                                                    Statement (May 19, 2015)
                                                                  Office action (Aug. 10,
                                                                    2015)
                                                                  Amendment and response
                                                                    (Nov. 4, 2015)
                                                                  Information Disclosure
                                                                    Statement (April 11,
                                                                    2016)


                                                        18
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 19 of 49
                                                  PageID: 2588



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 Prosecution file history of
                                                                 U.S. Application No.
                                                                 13/110,532, including:
                                                                  Original claims (May 18,
                                                                    2011)
                                                                  Office action (June 28,
                                                                    2013)
                                                                  Amendment and response
                                                                    (September 26, 2013)

                                                                 Merriam-Webster’s Medical
                                                                 Desk Dictionary 226, 396,
                                                                 397, 489, 503 (2005)
                                                                 [TEVAPRO_00010922]

                                                                 Merriam-Webster’s Medical
                                                                 Dictionary 218, 379, 460, 474
                                                                 (2016)
                                                                 [TEVAPRO_00010929]

                                                                 Additional Evidence
                                                                 Identified Pursuant to L.
                                                                 Pat. R. 4.2(c)

                                                                 Intrinsic Evidence
                                                                  Evidence cited or relied
                                                                     upon by Teva in its June
                                                                     21, 2024 identification of

                                                        19
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 20 of 49
                                                  PageID: 2589



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                     preliminary claim
                                                                     constructions and
                                                                     supporting evidence
                                                                     pursuant to L. Pat. R.
                                                                     4.2(a)-(b).
                                                                    Evidence cited or relied
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Prosecution file history of
                                                                     U.S. Application No.
                                                                     14/103,324, including:
                                                                      Final rejection
                                                                         (December 7, 2015)
                                                                      Amendment and
                                                                         response (March 7,
                                                                         2016)
                                                                      Notice of
                                                                         allowance/allowability
                                                                         (May 20, 2016)




                                                        20
Case 2:23-cv-20964-SRC-MAH   Document 111-1   Filed 07/10/24     Page 21 of 49
                              PageID: 2590



                                          Extrinsic Evidence
                                           Evidence cited or relied
                                             upon by Teva in its June
                                             21, 2024 identification of
                                             preliminary claim
                                             constructions and
                                             supporting evidence
                                             pursuant to L. Pat. R.
                                             4.2(a)-(b).
                                           Evidence cited or relied
                                             upon by Defendants,
                                             including the materials
                                             cited in Defendants’ June
                                             21 and June 28, 2024
                                             identifications of
                                             constructions and
                                             evidence pursuant to L.
                                             Pat. R. 4.2(a)-(c).
                                           Defendants’
                                             Noninfringement
                                             Contentions, including
                                             materials cited.
                                           Defendants’ Invalidity
                                             Contentions, including
                                             materials cited.
                                           Defendants’ Notice
                                             Letter.
                                           Defendants’ Interrogatory
                                             Responses.
                                           Expert opinions and/or
                                             testimony regarding how
                                             a person of ordinary skill
                                             in the art would

                                  21
                     Case 2:23-cv-20964-SRC-MAH           Document 111-1       Filed 07/10/24     Page 22 of 49
                                                           PageID: 2591



No. Claim Term        Plaintiffs’ Proposed       Defendants’ Proposed      Plaintiffs’ Evidence             Defendants’ Evidence
                      Construction               Construction
    Patent(s) /
    Claim(s)

                                                                              understand the meaning
                                                                              of this term based on the
                                                                              disclosures in the patent
                                                                              specification, other
                                                                              intrinsic evidence, and the
                                                                              parties’ extrinsic
                                                                              evidence.

3   “A dose           The preamble is            The phrase “A dose        The ’808 patent, including:      Amneal identifies the
    counter for an    limiting.                  counter for an inhaler”    Claim 1                        following intrinsic and
    inhaler”                                     is part of the preamble    Abstract                       extrinsic evidence in
                      Plain and ordinary         and is not limiting.       1:23-27                        support of its construction
    ’808 patent,      meaning in view of the     Therefore, no              1:31-2:40                      and in opposition to Teva’s
    claim 1           claims, specification,     construction is                                            construction. Amneal also
                                                                            2:44-53
                      and prosecution history,   necessary.                 4:1-6                          may rely on the evidence
                      which is:                                             4:26-5:3                       that Teva has identified
                                                 To the extent the Court                                    with respect to this claim
                                                                            7:30-39
                      “A dose counter used in    finds that this phrase is                                  term.
                      connection with an         limiting and requires      8:57-9:3
                      inhaler”                   construction, this phrase  9:38-10:27                     Intrinsic Evidence
                                                 should be construed as     Figs. 1-26                     The ’808 patent generally,
                                                 “A dose counter for an                                     including at least 1:38-44,
                                                 inhaler device”           Prosecution file history of      1:53-58, 1:65-2:4, 2:23-28,
                                                                           U.S. Application No.             2:28-34, 2:34-36, Figs. 1-
                                                                           15/262,818, including:           26, claims 1-29.
                                                                            Original claims (Sep. 12,
                                                                              2016)                         The ’808 file history
                                                                                                            generally, including at least
                                                                                                            Response to Office Action
                                                                  22
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 23 of 49
                                                  PageID: 2592



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence          Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 Webster’s Third New           at 1-9 (Mar. 15, 2017)
                                                                 International Dictionary of   (TEVAPRO_00001907 at
                                                                 the English Language          02033-41).
                                                                 Unabridged 886 (2002)
                                                                 [TEVAPRO_00010935]            The ’156 patent generally,
                                                                                               including at least claim 1
                                                                 Merriam-Webster’s             (AMN_PA0058084).
                                                                 Collegiate Dictionary 488
                                                                 (11th ed. 2007)
                                                                 [TEVAPRO_00010919]
                                                                                               Extrinsic Evidence
                                                                 The American Heritage         Webster’s Third New
                                                                 Dictionary of the English     International Dictionary of
                                                                 Language 684-685 (5th ed.     the English Language
                                                                 2011)                         Unabridged 886 (2002)
                                                                 [TEVAPRO_00010912]            (TEVAPRO_00010935).

                                                                 Collins English Dictionary
                                                                                               Merriam-Webster’s
                                                                 758 (12th ed. 2016)
                                                                                               Collegiate Dictionary 488
                                                                 [TEVAPRO_00010916]
                                                                                               (11th ed. 2007)
                                                                                               9TEVAPRO_00010919).
                                                                 Merriam-Webster’s Medical
                                                                 Desk Dictionary 226, 396,
                                                                 397, 489, 503 (2005)          The American Heritage
                                                                 [TEVAPRO_00010922]            Dictionary of the English
                                                                                               Language 684-685 (5th ed.
                                                                 Merriam-Webster’s Medical     2011)
                                                                 Dictionary 218, 379, 460, 474 (TEVAPRO_00010912).


                                                        23
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 24 of 49
                                                  PageID: 2593



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 (2016)
                                                                 [TEVAPRO_00010929]               Collins English Dictionary
                                                                                                  758 (12th ed. 2016)
                                                                 Additional Evidence              (TEVAPRO_00010916).
                                                                 Identified Pursuant to L.
                                                                 Pat. R. 4.2(c)
                                                                                                  Merriam-Webster’s
                                                                 Intrinsic Evidence               Medical Desk Dictionary
                                                                  Evidence cited or relied       226, 396, 397, 489, 503
                                                                     upon by Teva in its June     (2005)
                                                                     21, 2024 identification of   (TEVAPRO_00010922).
                                                                     preliminary claim
                                                                     constructions and            Merriam-Webster’s
                                                                     supporting evidence          Medical Dictionary 218,
                                                                     pursuant to L. Pat. R.       379, 460, 474 (2016)
                                                                     4.2(a)-(b).                  (TEVAPRO_00010929).
                                                                  Evidence cited or relied
                                                                     upon by Defendants,          The ’552 publication
                                                                     including the materials      generally, including at
                                                                     cited in Defendants’ June    13:24-14:6
                                                                     21 and June 28, 2024         (AMN_PA0057944).
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                  Prosecution file history of
                                                                     U.S. Application No.
                                                                     15/262,818, including:

                                                        24
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 25 of 49
                                                  PageID: 2594



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                       Original claims (Sep.
                                                                        12, 2016)
                                                                       Non-final rejection
                                                                        (December 16, 2016)
                                                                       Amendment and
                                                                        response (March 15,
                                                                        2017)
                                                                       Office action (July 19,
                                                                        2017)
                                                                       Reply to office action
                                                                        (Oct. 17, 2017)
                                                                       Advisory action
                                                                        before the filing of an
                                                                        appeal brief (Oct. 25,
                                                                        2017)
                                                                       Appellant’s brief
                                                                        (May 21, 2018)
                                                                       Examiner’s answer to
                                                                        appeal brief (Aug. 7,
                                                                        2018)
                                                                       Reply brief (Oct. 4,
                                                                        2018)
                                                                       Patent board decision
                                                                        (Sep. 20, 2019)
                                                                       Notice of
                                                                        allowance/allowability
                                                                        (October 2, 2019)


                                                        25
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 26 of 49
                                                  PageID: 2595



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 Extrinsic Evidence
                                                                  Evidence cited or relied
                                                                    upon by Teva in its June
                                                                    21, 2024 identification of
                                                                    preliminary claim
                                                                    constructions and
                                                                    supporting evidence
                                                                    pursuant to L. Pat. R.
                                                                    4.2(a)-(b).
                                                                  Evidence cited or relied
                                                                    upon by Defendants,
                                                                    including the materials
                                                                    cited in Defendants’ June
                                                                    21 and June 28, 2024
                                                                    identifications of
                                                                    constructions and
                                                                    evidence pursuant to L.
                                                                    Pat. R. 4.2(a)-(c).
                                                                  Defendants’
                                                                    Noninfringement
                                                                    Contentions, including
                                                                    materials cited.
                                                                  Defendants’ Invalidity
                                                                    Contentions, including
                                                                    materials cited.
                                                                  Defendants’ Notice
                                                                    Letter.


                                                        26
                   Case 2:23-cv-20964-SRC-MAH           Document 111-1        Filed 07/10/24      Page 27 of 49
                                                         PageID: 2596



No. Claim Term      Plaintiffs’ Proposed        Defendants’ Proposed      Plaintiffs’ Evidence              Defendants’ Evidence
                    Construction                Construction
    Patent(s) /
    Claim(s)

                                                                             Defendants’ Interrogatory
                                                                              Responses.
                                                                             Expert opinions and/or
                                                                              testimony regarding how
                                                                              a person of ordinary skill
                                                                              in the art would
                                                                              understand the meaning
                                                                              of this term based on the
                                                                              disclosures in the patent
                                                                              specification, other
                                                                              intrinsic evidence, and the
                                                                              parties’ extrinsic
                                                                              evidence.

4   “an inhaler”    The preamble is             The phrase “an inhaler”   The ’808 patent, including:       Amneal identifies the
                    limiting.                   is part of the preamble    Claims 1, 2                     following intrinsic and
    ’808 patent,                                and is not limiting.       Abstract                        extrinsic evidence in
    claim 1         Plain and ordinary          Therefore, no              1:23-27                         support of its construction
                    meaning in view of the      construction is            1:29-2:40, including WO         and in opposition to Teva’s
                    claims, specification,      necessary.                   98/028033, EP-A-               construction. Amneal also
                    and prosecution history,                                 1486227, WO                    may rely on the evidence
                    which is:                   To the extent the Court      2008/119552                    that Teva has identified
                                                finds that this phrase is  4:34-5:19                       with respect to this claim
                    “an inhaler containing      limiting and requires      5:31-63                         term.
                    an active drug capable      construction, this phrase  6:24-62
                    of being dispensed via      should be construed as
                                                                           7:30-39                         Intrinsic Evidence
                    the inhaler to the lungs”   “an inhaler device”
                                                                           7:65-8:8                        The ’808 patent generally,
                                                                           8:31-41                         including at least 1:38-44,

                                                                27
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 28 of 49
                                                  PageID: 2597



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence           Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    9:15-24                    1:53-58, 1:65-2:4, 2:23-28,
                                                                    10:48-58                   2:28-34, 2:34-36, Figs. 1-26,
                                                                                                claims 1-29.
                                                                    12:15-39
                                                                    13:12-24
                                                                    13:42-54                   The ’808 file history
                                                                    14:27-61                   generally, including at least
                                                                                                Response to Office Action at
                                                                    17:5-12                    1-9 (Mar. 15, 2017)
                                                                    20:14-58                   (TEVAPRO_00001907
                                                                    20:62-21:8                 at -02033-41).
                                                                    Fig. 7A, 10D, 21, 22
                                                                                                The ’156 patent generally,
                                                                 Prosecution file history of    including at least claim 1
                                                                 U.S. Application No.           (AMN_PA0058084).
                                                                 14/103,324, including:
                                                                  Original claims (Dec. 11,
                                                                    2013)                       Extrinsic Evidence
                                                                  Information Disclosure       Merriam-Webster’s
                                                                    Statement (Dec. 11, 2013)   Medical Desk Dictionary
                                                                  Information Disclosure       226, 396, 397, 489, 503
                                                                    Statement (March 10,        (2005)
                                                                    2014)                       (TEVAPRO_00010922).
                                                                  Information Disclosure
                                                                    Statement (Oct. 15, 2014)   Merriam-Webster’s
                                                                  Information Disclosure       Medical Dictionary 218,
                                                                    Statement (March 18,        379, 460, 474 (2016)
                                                                    2015)                       (TEVAPRO_00010929).
                                                                  Information Disclosure
                                                                    Statement (May 19, 2015)
                                                        28
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 29 of 49
                                                  PageID: 2598



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Office action (Aug. 10,     The ’552 publication
                                                                     2015)                       generally, including at
                                                                    Amendment and response      13:24-14:6
                                                                     (Nov. 4, 2015)              (AMN_PA0057944).
                                                                    Information Disclosure
                                                                     Statement (April 11,
                                                                     2016)

                                                                 Prosecution file history of
                                                                 U.S. Application No.
                                                                 13/110,532, including:
                                                                  Original claims (May 18,
                                                                    2011)
                                                                  Office action (June 28,
                                                                    2013)
                                                                  Amendment and response
                                                                    (September 26, 2013)

                                                                 Merriam-Webster’s Medical
                                                                 Desk Dictionary 226, 396,
                                                                 397, 489, 503 (2005)
                                                                 [TEVAPRO_00010922]

                                                                 Merriam-Webster’s Medical
                                                                 Dictionary 218, 379, 460, 474
                                                                 (2016)
                                                                 [TEVAPRO_00010929]


                                                        29
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 30 of 49
                                                  PageID: 2599



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 Additional Evidence
                                                                 Identified Pursuant to L.
                                                                 Pat. R. 4.2(c)

                                                                 Intrinsic Evidence
                                                                  Evidence cited or relied
                                                                     upon by Teva in its June
                                                                     21, 2024 identification of
                                                                     preliminary claim
                                                                     constructions and
                                                                     supporting evidence
                                                                     pursuant to L. Pat. R.
                                                                     4.2(a)-(b).
                                                                  Evidence cited or relied
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                  Prosecution file history of
                                                                     U.S. Application No.
                                                                     15/262,818, including:
                                                                      Original claims (Sep.
                                                                         12, 2016)


                                                        30
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 31 of 49
                                                  PageID: 2600



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                       Non-final rejection
                                                                        (December 16, 2016)
                                                                       Amendment and
                                                                        response (March 15,
                                                                        2017)
                                                                       Information
                                                                        Disclosure Statement
                                                                        (May 30, 2017)
                                                                       Office action (July 19,
                                                                        2017)
                                                                       Reply to office action
                                                                        (Oct. 17, 2017)
                                                                       Advisory Action
                                                                        Before the Filing of
                                                                        an Appeal Brief (Oct.
                                                                        25, 2017)
                                                                       Appellant’s brief
                                                                        (May 21, 2018)
                                                                       Examiner’s answer to
                                                                        appeal brief (Aug. 7,
                                                                        2018)
                                                                       Reply brief (Oct. 4,
                                                                        2018)
                                                                       Patent board decision
                                                                        (Sep. 20, 2019)
                                                                       Notice of
                                                                        allowance/allowability
                                                                        (October 2, 2019)

                                                        31
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 32 of 49
                                                  PageID: 2601



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)


                                                                 Extrinsic Evidence
                                                                  Evidence cited or relied
                                                                    upon by Teva in its June
                                                                    21, 2024 identification of
                                                                    preliminary claim
                                                                    constructions and
                                                                    supporting evidence
                                                                    pursuant to L. Pat. R.
                                                                    4.2(a)-(b).
                                                                  Evidence cited or relied
                                                                    upon by Defendants,
                                                                    including the materials
                                                                    cited in Defendants’ June
                                                                    21 and June 28, 2024
                                                                    identifications of
                                                                    constructions and
                                                                    evidence pursuant to L.
                                                                    Pat. R. 4.2(a)-(c).
                                                                  Defendants’
                                                                    Noninfringement
                                                                    Contentions, including
                                                                    materials cited.
                                                                  Defendants’ Invalidity
                                                                    Contentions, including
                                                                    materials cited.
                                                                  Defendants’ Notice
                                                                    Letter.

                                                        32
                    Case 2:23-cv-20964-SRC-MAH           Document 111-1         Filed 07/10/24      Page 33 of 49
                                                          PageID: 2602



No. Claim Term       Plaintiffs’ Proposed       Defendants’ Proposed        Plaintiffs’ Evidence              Defendants’ Evidence
                     Construction               Construction
    Patent(s) /
    Claim(s)

                                                                               Defendants’ Interrogatory
                                                                                Responses.
                                                                               Expert opinions and/or
                                                                                testimony regarding how
                                                                                a person of ordinary skill
                                                                                in the art would
                                                                                understand the meaning
                                                                                of this term based on the
                                                                                disclosures in the patent
                                                                                specification, other
                                                                                intrinsic evidence, and the
                                                                                parties’ extrinsic
                                                                                evidence.

5   “An              The preamble is            The phrase “An              The ’889 patent, including:       Amneal identifies the
    incremental      limiting.                  incremental dose             Claim 1                         following intrinsic and
    dose counter                                counter for a metered        Abstract                        extrinsic evidence in
    for a metered    Plain and ordinary         dose inhaler” is part of     1:23-27                         support of its construction
    dose inhaler”    meaning in view of the     the preamble and is not      1:31-2:40                       and in opposition to Teva’s
                     claims, specification,     limiting.                    2:44-53                         construction. Amneal also
    ’889 patent,     and prosecution history,   Therefore, no                                                 may rely on the evidence
                                                                             4:1-6
    claim 1          which is:                  construction is                                               that Teva has identified
                                                                             4:26-5:3
                                                necessary.                                                    with respect to this claim
                                                                             7:30-39
                     “An incremental dose                                                                     term.
                                                                             8:57-9:3
                     counter used in            To the extent the Court
                     connection with a          finds that this phrase is    9:38-10:27                      Intrinsic Evidence
                     metered dose inhaler”      limiting and requires        Figs. 1-26                      The ’889 patent generally,
                                                construction, this phrase                                     including at least 1:38-44,

                                                                 33
                  Case 2:23-cv-20964-SRC-MAH      Document 111-1       Filed 07/10/24     Page 34 of 49
                                                   PageID: 2603



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed     Plaintiffs’ Evidence          Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                          should be construed as   Prosecution file history of   1:53-58, 1:65-2:4, 2:23-28,
                                          “An incremental dose     U.S. Application No.          2:28-34, 2:34-36, Figs. 1-
                                          counter for a metered    16/915,558, including:        26, claims 1-6.
                                          dose inhaler device”      Original claims (June 29,
                                                                      2020)                      The ’889 file history
                                                                                                 generally, including at least
                                                                   Webster’s Third New           Amendment under 37
                                                                   International Dictionary of   C.F.R. § 1.111 at 1-6 (Oct.
                                                                   the English Language          21, 2021)
                                                                   Unabridged 886 (2002)         (TEVAPRO_00006442 at
                                                                   [TEVAPRO_00010935]            06619-24).

                                                                   Merriam-Webster’s             The ’156 patent generally,
                                                                   Collegiate Dictionary 488     including at least claim 1
                                                                   (11th ed. 2007)               (AMN_PA0058084).
                                                                   [TEVAPRO_00010919]

                                                                   The American Heritage         Extrinsic Evidence
                                                                   Dictionary of the English     Webster’s Third New
                                                                   Language 684-685 (5th ed.     International Dictionary of
                                                                   2011)                         the English Language
                                                                   [TEVAPRO_00010912]            Unabridged 886 (2002)
                                                                                                 (TEVAPRO_00010935).
                                                                   Collins English Dictionary
                                                                   758 (12th ed. 2016)           Merriam-Webster’s
                                                                   [TEVAPRO_00010916]            Collegiate Dictionary 488
                                                                                                 (11th ed. 2007)
                                                                   Merriam-Webster’s Medical     9TEVAPRO_00010919).
                                                                   Desk Dictionary 226, 396,
                                                          34
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 35 of 49
                                                  PageID: 2604



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 397, 489, 503 (2005)
                                                                 [TEVAPRO_00010922]            The American Heritage
                                                                                               Dictionary of the English
                                                                 Merriam-Webster’s Medical     Language 684-685 (5th ed.
                                                                 Dictionary 218, 379, 460, 474 2011)
                                                                 (2016)                        (TEVAPRO_00010912).
                                                                 [TEVAPRO_00010929]

                                                                 Additional Evidence              Collins English Dictionary
                                                                 Identified Pursuant to L.        758 (12th ed. 2016)
                                                                 Pat. R. 4.2(c)                   (TEVAPRO_00010916).

                                                                 Intrinsic Evidence               Merriam-Webster’s
                                                                  Evidence cited or relied       Medical Desk Dictionary
                                                                     upon by Teva in its June     226, 396, 397, 489, 503
                                                                     21, 2024 identification of   (2005)
                                                                     preliminary claim            (TEVAPRO_00010922).
                                                                     constructions and
                                                                     supporting evidence
                                                                                                  Merriam-Webster’s
                                                                     pursuant to L. Pat. R.
                                                                                                  Medical Dictionary 218,
                                                                     4.2(a)-(b).
                                                                                                  379, 460, 474 (2016)
                                                                  Evidence cited or relied       (TEVAPRO_00010929).
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June    The ’552 publication
                                                                     21 and June 28, 2024         generally, including at
                                                                     identifications of           13:24-14:6
                                                                     constructions and            (AMN_PA0057944).


                                                        35
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 36 of 49
                                                  PageID: 2605



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Prosecution file history of
                                                                     U.S. Application No.
                                                                     16/915,558, including:
                                                                      Non-final rejection
                                                                         (April 21, 2021)
                                                                      Amendment and
                                                                         response (Oct. 21,
                                                                         2021)
                                                                      Final rejection
                                                                         (November 3, 2021)
                                                                      Amendment and
                                                                         response (April 4,
                                                                         2022)
                                                                      Notice of
                                                                         allowance/allowability
                                                                         (April 15, 2022)

                                                                 Extrinsic Evidence
                                                                  Evidence cited or relied
                                                                    upon by Teva in its June
                                                                    21, 2024 identification of
                                                                    preliminary claim
                                                                    constructions and
                                                                    supporting evidence
                                                                    pursuant to L. Pat. R.
                                                                    4.2(a)-(b).

                                                        36
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 37 of 49
                                                  PageID: 2606



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Evidence cited or relied
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Defendants’
                                                                     Noninfringement
                                                                     Contentions, including
                                                                     materials cited.
                                                                    Defendants’ Invalidity
                                                                     Contentions, including
                                                                     materials cited.
                                                                    Defendants’ Notice
                                                                     Letter.
                                                                    Defendants’ Interrogatory
                                                                     Responses
                                                                    Expert opinions and/or
                                                                     testimony regarding how
                                                                     a person of ordinary skill
                                                                     in the art would
                                                                     understand the meaning
                                                                     of this term based on the
                                                                     disclosures in the patent
                                                                     specification, other

                                                        37
                    Case 2:23-cv-20964-SRC-MAH           Document 111-1        Filed 07/10/24     Page 38 of 49
                                                          PageID: 2607



No. Claim Term       Plaintiffs’ Proposed       Defendants’ Proposed       Plaintiffs’ Evidence             Defendants’ Evidence
                     Construction               Construction
    Patent(s) /
    Claim(s)

                                                                              intrinsic evidence, and the
                                                                              parties’ extrinsic
                                                                              evidence.

6   “a metered       The preamble is            The phrase “a metered     The ’889 patent, including:       Amneal identifies the
    dose inhaler”    limiting.                  dose inhaler” is part of   Claims 1, 2                     following intrinsic and
                                                the preamble and is not    Abstract                        extrinsic evidence in
    ’889 patent,     Plain and ordinary         limiting.                  1:23-27                         support of its construction
    claim 1          meaning in view of the     Therefore, no              1:29-2:40, including WO         and in opposition to Teva’s
                     claims, specification,     construction is              98/028033, EP-A-               construction. Amneal also
                     and prosecution history,   necessary.                   1486227, WO                    may rely on the evidence
                     which is:                                               2008/119552                    that Teva has identified
                                                To the extent the Court  4:34-5:19                         with respect to this claim
                     “a metered dose inhaler    finds that this phrase is  5:31-63                         term.
                     containing an active       limiting and requires      6:24-62
                     drug capable of being      construction, this phrase
                                                                           7:30-39                         Intrinsic Evidence
                     dispensed via the          should be construed as
                     inhaler to the lungs”      “a metered dose inhaler  7:65-8:8                          The ’889 patent generally,
                                                device”                    8:31-41                         including at least 1:38-44,
                                                                           9:15-24                         1:53-58, 1:65-2:4, 2:23-28,
                                                                           10:48-58                        2:28-34, 2:34-36, Figs. 1-
                                                                           12:15-39                        26, claims 1-6.
                                                                           13:12-24
                                                                           13:42-54                        The ’889 file history
                                                                           14:27-61                        generally, including at least
                                                                           17:5-12                         Amendment under 37
                                                                           20:14-58                        C.F.R. § 1.111 at 1-6 (Oct.
                                                                           20:62-21:8                      21, 2021)

                                                                 38
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 39 of 49
                                                  PageID: 2608



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence           Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Fig. 7A, 10D, 21, 22       (TEVAPRO_00006442
                                                                                                at -06619-24).
                                                                 Prosecution file history of
                                                                 U.S. Application No.           The ’156 patent generally,
                                                                 14/103,324, including:         including at least claim 1
                                                                  Original claims (Dec. 11,    (AMN_PA0058084).
                                                                    2013)
                                                                  Information Disclosure
                                                                                                Extrinsic Evidence
                                                                    Statement (Dec. 11, 2013)
                                                                  Information Disclosure       Merriam-Webster’s
                                                                    Statement (March 10,        Medical Desk Dictionary
                                                                    2014)                       226, 396, 397, 489, 503
                                                                                                (2005)
                                                                  Information Disclosure
                                                                                                (TEVAPRO_00010922).
                                                                    Statement (Oct. 15, 2014)
                                                                  Information Disclosure
                                                                    Statement (March 18,        Merriam-Webster’s
                                                                    2015)                       Medical Dictionary 218,
                                                                  Information Disclosure       379, 460, 474 (2016)
                                                                    Statement (May 19, 2015)    (TEVAPRO_00010929).
                                                                  Office action (Aug. 10,
                                                                    2015)                       The ’552 publication
                                                                  Amendment and response       generally, including at
                                                                    (Nov. 4, 2015)              13:24-14:6
                                                                  Information Disclosure       (AMN_PA0057944).
                                                                    Statement (April 11,
                                                                    2016)



                                                        39
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 40 of 49
                                                  PageID: 2609



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                 Prosecution file history of
                                                                 U.S. Application No.
                                                                 13/110,532, including:
                                                                  Original claims (May 18,
                                                                    2011)
                                                                  Office action (June 28,
                                                                    2013)
                                                                  Amendment and response
                                                                    (September 26, 2013)

                                                                 Merriam-Webster’s Medical
                                                                 Desk Dictionary 226, 396,
                                                                 397, 489, 503 (2005)
                                                                 [TEVAPRO_00010922]

                                                                 Merriam-Webster’s Medical
                                                                 Dictionary 218, 379, 460, 474
                                                                 (2016)
                                                                 [TEVAPRO_00010929]

                                                                 Additional Evidence
                                                                 Identified Pursuant to L.
                                                                 Pat. R. 4.2(c)

                                                                 Intrinsic Evidence
                                                                  Evidence cited or relied
                                                                     upon by Teva in its June
                                                                     21, 2024 identification of

                                                        40
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 41 of 49
                                                  PageID: 2610



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                     preliminary claim
                                                                     constructions and
                                                                     supporting evidence
                                                                     pursuant to L. Pat. R.
                                                                     4.2(a)-(b).
                                                                    Evidence cited or relied
                                                                     upon by Defendants,
                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Prosecution file history of
                                                                     U.S. Application No.
                                                                     16/915,558, including:
                                                                      Original claims (June
                                                                         29, 2020)
                                                                      Information disclosure
                                                                         statement (June 29,
                                                                         2020)
                                                                      Non-final rejection
                                                                         (April 21, 2021)
                                                                      Amendment and
                                                                         response (Oct. 21,
                                                                         2021)


                                                        41
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 42 of 49
                                                  PageID: 2611



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                       Final rejection
                                                                        (November 3, 2021)
                                                                       Information disclosure
                                                                        statement (December
                                                                        10, 2021)
                                                                       Amendment and
                                                                        response (April 4,
                                                                        2022)
                                                                       Notice of
                                                                        allowance/allowability
                                                                        (April 15, 2022)

                                                                 Extrinsic Evidence
                                                                  Evidence cited or relied
                                                                    upon by Teva in its June
                                                                    21, 2024 identification of
                                                                    preliminary claim
                                                                    constructions and
                                                                    supporting evidence
                                                                    pursuant to L. Pat. R.
                                                                    4.2(a)-(b).
                                                                  Evidence cited or relied
                                                                    upon by Defendants,
                                                                    including the materials
                                                                    cited in Defendants’ June
                                                                    21 and June 28, 2024
                                                                    identifications of
                                                                    constructions and

                                                        42
                  Case 2:23-cv-20964-SRC-MAH        Document 111-1     Filed 07/10/24      Page 43 of 49
                                                     PageID: 2612



No. Claim Term     Plaintiffs’ Proposed     Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction             Construction
    Patent(s) /
    Claim(s)

                                                                       evidence pursuant to L.
                                                                       Pat. R. 4.2(a)-(c).
                                                                      Defendants’
                                                                       Noninfringement
                                                                       Contentions, including
                                                                       materials cited.
                                                                      Defendants’ Invalidity
                                                                       Contentions, including
                                                                       materials cited.
                                                                      Defendants’ Notice
                                                                       Letter.
                                                                      Defendants’ Interrogatory
                                                                       Responses
                                                                      Expert opinions and/or
                                                                       testimony regarding how
                                                                       a person of ordinary skill
                                                                       in the art would
                                                                       understand the meaning
                                                                       of this term based on the
                                                                       disclosures in the patent
                                                                       specification, other
                                                                       intrinsic evidence, and the
                                                                       parties’ extrinsic
                                                                       evidence.

7   “canister”     Plain and ordinary       No construction        The ’889 patent, including:       Amneal identifies the
                   meaning in view of the   necessary.              Claims 1, 2                     following intrinsic and
                   claims, specification,                           Abstract                        extrinsic evidence in

                                                              43
                   Case 2:23-cv-20964-SRC-MAH           Document 111-1        Filed 07/10/24    Page 44 of 49
                                                         PageID: 2613



No. Claim Term      Plaintiffs’ Proposed        Defendants’ Proposed     Plaintiffs’ Evidence           Defendants’ Evidence
                    Construction                Construction
    Patent(s) /
    Claim(s)

    ’889 patent,    and prosecution history,    Plain and ordinary           1:23-27                   support of its construction
    claim 1         which is:                   meaning, i.e., “canister”    1:29-2:40, including WO   and in opposition to Teva’s
                                                                              98/028033, EP-A-          construction. Amneal also
                    “a canister containing                                    1486227, WO               may rely on the evidence
                    an active drug capable                                    2008/119552               that Teva has identified
                    of being dispensed via                                   4:34-5:18                 with respect to this claim
                    the inhaler to the lungs”                                5:31-63                   term.
                                                                             6:24-62
                                                                             7:30-39                   Intrinsic Evidence
                                                                             7:65-8:8                  The ’889 patent generally,
                                                                                                        including at least 1:31-35,
                                                                             8:31-41
                                                                                                        4:39-50, 4:51-5:3, 5:4-18,
                                                                             9:15-24                   5:31-39, 6:24-27, 6:38-47,
                                                                             10:48-58                  6:54-62, 9:15-24, 12:19-39,
                                                                             12:15-39                  13:55-14:10, 14:11-15,
                                                                             13:12-24                  Figs. 1-26, claim 1.
                                                                             13:42-54
                                                                             14:27-61
                                                                                                        The ’156 patent generally,
                                                                             17:5-11
                                                                                                        including at least claim 1
                                                                             20:14-58                  (AMN_PA0058084).
                                                                             20:62-21:8
                                                                             Fig. 7A, 10D, 21, 22
                                                                                                        Extrinsic Evidence
                                                                         Prosecution file history of    Merriam-Webster’s
                                                                         U.S. Application No.           Medical Desk Dictionary
                                                                         14/103,324, including:         226, 396, 397, 489, 503
                                                                          Original claims (Dec. 11,    (2005)
                                                                            2013)                       (TEVAPRO_00010922).


                                                                44
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 45 of 49
                                                  PageID: 2614



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Information Disclosure
                                                                     Statement (Dec. 11, 2013)   Merriam-Webster’s
                                                                    Information Disclosure      Medical Dictionary 218,
                                                                     Statement (March 10,        379, 460, 474 (2016)
                                                                     2014)                       (TEVAPRO_00010929).
                                                                    Information Disclosure
                                                                     Statement (Oct. 15, 2014)
                                                                                                 The ’552 publication
                                                                    Information Disclosure      generally, including at
                                                                     Statement (March 18,        13:24-14:6
                                                                     2015)                       (AMN_PA0057944).
                                                                    Information Disclosure
                                                                     Statement (May 19, 2015)
                                                                    Office action (Aug. 10,
                                                                     2015)
                                                                    Amendment and response
                                                                     (Nov. 4, 2015)
                                                                    Information Disclosure
                                                                     Statement (April 11,
                                                                     2016)

                                                                 Prosecution file history of
                                                                 U.S. Application No.
                                                                 13/110,532, including:
                                                                  Original claims (May 18,
                                                                    2011)
                                                                  Office action (June 28,
                                                                    2013)


                                                        45
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 46 of 49
                                                  PageID: 2615



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence             Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Amendment and response
                                                                     (September 26, 2013)

                                                                 Merriam-Webster’s Medical
                                                                 Desk Dictionary 226, 396,
                                                                 397, 489, 503 (2005)
                                                                 [TEVAPRO_00010922]

                                                                 Merriam-Webster’s Medical
                                                                 Dictionary 218, 379, 460, 474
                                                                 (2016)
                                                                 [TEVAPRO_00010929]

                                                                 Additional Evidence
                                                                 Identified Pursuant to L.
                                                                 Pat. R. 4.2(c)

                                                                 Intrinsic Evidence
                                                                  Evidence cited or relied
                                                                     upon by Teva in its June
                                                                     21, 2024 identification of
                                                                     preliminary claim
                                                                     constructions and
                                                                     supporting evidence
                                                                     pursuant to L. Pat. R.
                                                                     4.2(a)-(b).
                                                                  Evidence cited or relied
                                                                     upon by Defendants,

                                                        46
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 47 of 49
                                                  PageID: 2616



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                     including the materials
                                                                     cited in Defendants’ June
                                                                     21 and June 28, 2024
                                                                     identifications of
                                                                     constructions and
                                                                     evidence pursuant to L.
                                                                     Pat. R. 4.2(a)-(c).
                                                                    Prosecution file history of
                                                                     U.S. Application No.
                                                                     16/915,558, including:
                                                                      Original claims (June
                                                                         29, 2020)
                                                                      Information disclosure
                                                                         statement (June 29,
                                                                         2020)
                                                                      Non-final rejection
                                                                         (April 21, 2021)
                                                                      Amendment and
                                                                         response (Oct. 21,
                                                                         2021)
                                                                      Final rejection
                                                                         (November 3, 2021)
                                                                      Information disclosure
                                                                         statement (December
                                                                         10, 2021)
                                                                      Amendment and
                                                                         response (April 4,
                                                                         2022)

                                                        47
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24     Page 48 of 49
                                                  PageID: 2617



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence            Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                       Notice of
                                                                        allowance/allowability
                                                                        (April 15, 2022)

                                                                 Extrinsic Evidence
                                                                  Evidence cited or relied
                                                                    upon by Teva in its June
                                                                    21, 2024 identification of
                                                                    preliminary claim
                                                                    constructions and
                                                                    supporting evidence
                                                                    pursuant to L. Pat. R.
                                                                    4.2(a)-(b).
                                                                  Evidence cited or relied
                                                                    upon by Defendants,
                                                                    including the materials
                                                                    cited in Defendants’ June
                                                                    21 and June 28, 2024
                                                                    identifications of
                                                                    constructions and
                                                                    evidence pursuant to L.
                                                                    Pat. R. 4.2(a)-(c).
                                                                  Defendants’
                                                                    Noninfringement
                                                                    Contentions, including
                                                                    materials cited.




                                                        48
                  Case 2:23-cv-20964-SRC-MAH     Document 111-1      Filed 07/10/24      Page 49 of 49
                                                  PageID: 2618



No. Claim Term     Plaintiffs’ Proposed   Defendants’ Proposed   Plaintiffs’ Evidence              Defendants’ Evidence
                   Construction           Construction
    Patent(s) /
    Claim(s)

                                                                    Defendants’ Invalidity
                                                                     Contentions, including
                                                                     materials cited.
                                                                    Defendants’ Notice
                                                                     Letter.
                                                                    Defendants’ Interrogatory
                                                                     Responses.
                                                                    Expert opinions and/or
                                                                     testimony regarding how
                                                                     a person of ordinary skill
                                                                     in the art would
                                                                     understand the meaning
                                                                     of this term based on the
                                                                     disclosures in the patent
                                                                     specification, other
                                                                     intrinsic evidence, and the
                                                                     parties’ extrinsic
                                                                     evidence.




                                                        49
